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                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO :15-14303-CV-M IDDLEBROOK S

  TIM O TH Y D .W ILLSON ,

         Plaintiff,



  BAN K OF A M ERICA ,N .A .,

         Defendant.
                                          /

   ORDER ON DEFENDANT'S M OTIO N TO DISM ISS ANp M OTION FO R SUM M ARY
                                          JUD G M EN T
         THIS CAU SE comesbeforetheCourton DefendantBank ofAm erica,N.A.'s1M otion to

  Dismiss. (DE 17). Also before theCourtisDefendant'sMotion forSummary FinalJudgment
  (ddMotion for Summary Judgmenf'),filed February 11,2016. (DE 52). For the following
  reasons, Defendant's M otion to Dismiss is denied and Defendant's M otion for Summ ary

  Judgmentisgranted in partand denied in part.

         1.     Background

         Thiscasearisesoutofalleged violationsoftheRealEstate Settlem entProceduresAct,12

  U.S.C.jj 2601,efseq.,CIRESPA'')Regulation X. On February 23,2005,Plaintiffç%executed
  and delivered a note,sectlred by am ortgage on theproperty located at645 CypressRoad,Vero

  Beach,FL 32963''(thetdproperty'). (PSOF ! 1;DSOF ! 1).2 SinceFebruary 2005,Defendant


  1 D efendant Bank of A m erica, N .A . is the sole rem aining D efendant in this case. Plaintiff
  voluntarily dismissed his claims againstQBE FirstInsurance Agency on December4,2015.
  (DE 37).
  2 Defendant's Statement of Undisputed M aterial Facts is located in its M otion for Summ ary
  Judgment. See (DE 52). PlaintiffsStatementofUndisputed M aterialFactsislocated in his
  Response.See(DE 56).
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  hasservicedtheloan. (PSOF !2;DSOF !2).Alsosincethattime,Defendanthasinitiated four
  foreclosme actions againstPlaintiff. See (PSOF !! 3-12;DSOF !! 3-12). The firstthree
  foreclosure actionsweredism issed: in tht fsrsttwo adions,Defendantvoluntarily dism issed the

  case and granted Plaintiffaloan m oditk ation;in thethird action,thecase wasdism issed forlack

  ofprosecution.(PSOF !5-10;DSOF!5-10).
         Theinstantcaseconcernsthefourthforeclosureaction(theStFoul'th ForeclosureAction'').
  OnDecember2,2013,DefendantfiledtheFourth ForeclosureAction in Floridastatecourt(the
  dToreclosure Cotuf'l (PSOF ! 12;DSOF ! 12). The ForeclosureCourtentered aFinalOrder
  SchedulingTrialon October16,2014,settingthetrialdateforDecember1,2014.(PSOF ! 13;
  DSOF! 13).
         On November 4, 2014, Plaintiff sent Defendant an em ail requesting a potential

  moditication of the loan and including an attachm ent with the requesting documents,which

  Plaintiffcharacterizesasalossmitigationapplication(the(tNovember4Email'').(DE 15-2at9;
  PSOF! 20;DSOF !20).ThePartiesdisputewhethertheattachmentto theNovember4 Email
  was corrupted and whether,due to this alleged corruption,the November 4 Em ail went to

  Defendant'sspam folder.(PSOF!20;DSOF!20).
         On November21,2014,Defendantfled a m otion forcontinuance,which wasdenied by

  theForeclosureCourtonNovember26,2014.(PSOF! 18;DSOF! 18).
         0n Decem ber 1,2014,the Foreclosure Courtheld a trial on the Fourth Foreclosure

 Action (the tiTrial''). (DE 52-8 at2). On the same day,DefendantsentPlaintiffan email
 requesting that Plaintiff resend the request for the loss m itigation application, stating the

 November4 Emailidwascorrupted in (sicjitwentto SPAM mail.'' (DE 15-2 at9). Plaintiff
  resentthedocumentsforthelossmitigationapplication.(PSOF !21;DSOF !21).


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        0n Jarmary 12,2015,the Foreclosme Courtentered a finaljudgment of foreclosure
  againstPlaintiffand scheduled asale ofthe Property forFebruary 17, 2015.(PSOF !39;DSOF

  !39;DE 52-8at5).
        On January 17,2015,Defendantinform ed Plaintiff that he did not qualify for a loss

  mitigationapplication (the:dDenial'').(PSOF!41;DSOF!41).
        On January 27,2015,Plaintifffled a M otion for Rthearing and,in the Alternative, an

  Evidentiary Hemingand M otion forStay (lçM otion forRehearing'). (PSOF ! 42;DSOF ! 42;
  DE 52-9 at2). ln the Motion for Rehearing,Plaintiffraised the argumentthat,due to the
 November 4 Email,RESPA Regulation X ûûprecluded gDefendantj for moving for a final
 foreclosurejudgment.'' (DE 52-9 at7;PSOF !42;DSOF !42). TheForeclosureCourtdenied
 theM otionforRehearingonJanuary28,2015.(PSOF !43;DSOF!43).
        PlaintiffsentDefendantanoticeoferroron February 9,2015.(PSOF !44;DSOF !44;
 DE 58 ! 44). ln this firstnotice oferrorCtFirstNotice'),Plaintiffcontended thatDefendant
 im properly failed to respond to the Novem ber 4 Em ail,thereby depriving him ofprotections

 underRESPA RegulationX.(DE 56-2at5-8).
        Plaintiff sentDefendant an appeal ofthe Denialon Febnzary 15,2016 (ççAppealof
 Denial''). (PSOF ! 43;DSOF ! 43;DE 56-2 at14). Plaintiffthen sentDefendanta second
 noticeoferror(çssecondNotice'')on February 16,2016.(PSOF !!46,68-69;DSOF !!46,68-
 69;DE 56-2at19-20).
        On M arch 18,2015,Defendantresponded to the FirstNotice,the AppealofDenial,and

 theSecondNotice.(PSOF!54;DSOF !(54;DE 56-6at68-71).
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         Plaintifftlledforbankruptcy topreventaforeclosuresale.(DE 15at!77).3 on August
  27, 2015, Plaintiff brought the instant adion alleging m ultiple violations under RESPA

  RegulationX.(DE 1).PlaintiffEled an Amended ComplaintonOctober16,2015.(DE 15).
         The firsttwo counts ofthe Am ended Complaintconcem Defendant'salleged failure to

  respond totheNovember4 Email. Count1allegesaviolation of12 C.F.R.j 1024.41(b)(2)for
  failure to provide,within five businessdays,written notification ofreceiptofthe lossmitigation

  application and indication whetherthe application wmscomplete. (DE 15 at! 80). Count11
  alleges violations of 12 C.F.R. j 1024.41(g) for Stmoving forward with conducting and
  introducing evidence''atthe trialin the Fortclosure Action,despite Defendantallegedly having

  receivedalossmitigationapplication.(DE 15at!110).
         The rem aining counts concern Defendant's alleged failures in conducting an improper

  review oftheDenial.CountIIlallegesDefendantviolated 12 C.F.R.j 1024.41(h)forfailingto
  conductaproperreview ofPlaintiffsAppealofDenial. (DE 15 at!! 126-30). CountsIV,V,
  and VlallegeDefendantfailed to investigateand properly respond to PlaintiffsFirstand Second

 Notice. (DE 15 at!! 147,160). On October26,2015,Defendantfiled the M otionto Dismiss
  (DE17),towhich Plaintiffresponded on November11,2015 (DE 30). On February 11,2016,
  Defendantfiled the M otion forSum mary Judgm ent. Plaintiffresponded on Febnzary 26,2016

  (DE 56),towhichDefendantreplied onM arch 2,2016(DE 58).
        II.     LegalStandard

        A . M otion to Dism iss

        A motionto dismissunderRule 12(b)(6)challengesthelegalsufficiency ofacomplaint.
 SeeFed.R.Civ.P.12(b)(6). ln assessingthelegalsufficiencyofacomplaint'sallegations,the


 3Itisunclearfrom the record exactly w hen Plaintifffiled forbanknzptcy.
                                               4
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  Courtisbound to apply thepleading standard articulated in BellAtlantic Corp v.Twombly, 550
                                                                               .




  U.S.544(2007)andAshcrojtv.Iqbal,556U.S.662,678(2009).Thatis,thecomplaintidmust..
  .   contain suffkientfactualm atter,accepted astnze,to çstatea claim to reliefthatisplausible on

  its face.'''Am. DentalAss'
                           n v.Cigna Corp., 605 F.
                                                 3d 1283,1289 (11th Cir.2010) (quoting
  Twombly,550U.S.at570).'r ismissalisthereforepermittedwhenon thebasisofadispositive
  issueoflaw ,no construction ofthe factualallegations willsupportthe cause ofaction.'' G lover

  v.LiggettGr#.,Inc.,459 F.3d 1304,1308(11th Cir.2006)(intem alquotationsomitted)(citing
  MarshallCn@.##.ofEduc.v.MarshallCn@.GasDist.,992F.2d 1171,1174(11thCir.1993:.
           W hen reviewing a motion to dismiss,a courtmustconstrue plaintiffs complaintin the

 light most favorable to plaintiff and take the factual allegations stated therein as true. See

 Ericksonv.Pardus,551U.S.89,93 (2007);Christopherv.Harbury,536U.S.403,406 (2002);
 Brookçv,Blue Cross &:Blue Shield of Fla.,Inc.,116 F.3d 1364, 1369 (11th Cir.1997).
 However,pleadings thatçtare no m ore than conclusions,are not entitled to the assumption of

 tnzth. W hile legal conclusions can provide the framework of a com plaint, they must be

 supported by factualallegations.''Iqbal,556 U .S.at678;seealso Sinaltrainalv.Coca-cola Co.,

 578 F.3d 1252,1260 (11th Cir.2009)(stating thatan unwarranted deduction offactisnot
 consideredtnzeforpurposeofdeterminingwhetheraclaim islegally suftkient).
           Generally,a plaintiffisnotrequired to detailallthe factsupon which hebaseshisclaim .

 Fed.R.Civ.P.8(a)(2).Rather,Rule8(a)(2)requiresashortandplain statementoftheclaim that
 fairly notifiesthedefendantofboth the claim and the supporting grotmds.Twombly 550 U.S.at

 555-56. However,tiRule 8(a)(2)stillrequires a dshowing,'ratherthan ablnnketassertion,of
 entitlem ent to relief.''Id at 556 n.3. Plaintiffs ççobligation to provide the çgrounds' of his

 ûentitlem entto relief requiresmore than labelsand conclusions,anda formulaicrecitation ofthe
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  elementsofa cause ofaction willnotdo.''1d.at555 (citation omitted). GtFactualallegations
  mustbeenoughtoraise (plaintiffs)righttoreliefabovethespeculativelevel,ontheassumption
  thatalloftheallegationsin the complaintaretrue.''1d.

         B . M otion for Sum m ary Judgm ent

         tç-
           l-hecourtshallgrantsummaryjudgmentifthemovantshowsthatthere isno genuine
  disputeasto anymaterialfactandthemovantisentitled tojudgmentasamatteroflaw.'' Fed.
  R.Civ.P.56(a). Themovantçtalwaysbearsthe initialresponsibility ofinformingthe district
  courtofthe basis forits m otion,and identifying those portions of Sthe pleadings,depositions,

  answersto interrogatories,and admissionson file,togetherwith the aftidavits,ifany,'which it

  believesdemonstrate the absence ofa genuineissue ofmaterialfact.'' Celotex Corp.v.Catrett,

 477 U.S.317,323 (1986)(quotingFed.R.Civ.P.56(c)(1)(A)). W herethenon-moving party
 bearstheburdenofproofon an issueattrial,themovantmay simply ltlpointqouttothedistrict
  courtthatthere isan absenceofevidenceto supportthenonm oving party'scase.''f#.at325.

        Afterthe movanthas metitsburden underRule 56(c),the burden shiftsto the non-
 m oving party to establish thatthere isa genuine issue ofmaterialfact. M atsushita Elec.Indus.

  Co.,Ltd v.Zenith Radio Corp.,475U.S.574,585 (1986). Although a11reasonableinferences
 are to be drawn in favorofthe non-movingparty,Anderson v.fiberty Lobby,Inc.,477U .S.242,

 255 (1986), the non-moving party timust do more than simply show that there is some
 m etaphysicaldoubtas to the m aterialfacts.'' M atsushita,475 U .S.at 586. The non-m oving

 party m ay notrestupon the mere allegations or denials of the adverse party'spleadings,but

 instead m ustcom e forward w ith çispecific facts show ing that there is a genuine issue for trial.''

 Id.at587 (citing Fed.R.Civ.P.56(e)).tiW herethe record taken asa wholecould notlead a
 rationaltrieroffactto find forthe non-m oving party,there is no Ggenuine issue fortrial.''' 1d.
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  $dA m ere dscintilla'of evidence supporting the opposing party'sposition willnotsuffice;there

  mustbe tnough of a showing thatthejury could reasonably tsnd forthatparty.'' Walker v,
  Darby,911F.2d 1573,1577 (11th Cir.1990).Ifthenon-movingpartyfailstomakeasuftkient
  showing on an essentialelementof his case on which he hasthe burden ofproof,the m oving

  partyisentitledtoajudgmentasamatteroflaw.Celotex Corp.,477U.S.at323.
        111.   M otion to Dism iss

        In its M otion to Dism iss, Defendant argues, inter alia,4 thatPlaintiff is barred from

  asserting aclaim underRegulation X oftheRealEstate SettlementProceduresActISElkESPA''I
  12C.F.R.j 1024.41,becausePlaintiffisseekingreview ofaduplicativerequest.(DE 17at6-7).
  Specifically, Defendant contends that, since Defendant already granted Plaintiff a loan

  modificationin2008,Defendantisnotboundbytherequirementsunderj1024.41.(1d at8).
        In response,Plaintiffcontendsthatthe effective date ofSection 1024.41was2014,after

 theoriginalloanmodification wasmade,andthusdoesnotapply.(DE 30 at2). Plaintiffalso
  argues Defendanthas notestablished thatthe loan m odification was based on a complete loss

 mitigation application.(Id at3-4).
        Section 1024.41(i)provides:
        Duplicativerequests. A servicerisonly required to complywith the requirem ents
        ofthis section fora single com plete lossm itigation application for a borrower's
        m ortgage loan account.

  12 C.F.R.j 1024.41(i).ItappearsthatDefendantgranted Plaintiffaloan moditkation in 2008.
 However,itisunclearwhetherthe 2008 loan modification wasm ade in response to a complete

 loss m itigation application, as opposed to a request for a loan m odification only. A loss

 m itigation application includes requests forloan m oditication,butitalso includesrequests for

 4Defendant'sremaining argumentswerealso m ade in itsM otion forSum maryJudgment. I
 addressthoseargumentsinh.ain Section IV.
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  otherlossmitigation progrnm s.SeeM cKinley v.Fed HomeLoan M ortgage Corp., No.CV 212-

  124,2013W L 4501327,at*5(S.D.Ga.Aug.22,2013)(fç(Thedefendant)notised (theplaintiftl
  ofvarious potentialloss m itigation options, including a HAM P loan m oditk ation,repaym ent

  plan,and ashortsale ofthe (plroperty.'')(noting thatthe defendantadvised theplaintiffofthe
  varietyoflossmitigationoptions);Petersonv.WellsFargoSank,N A.,No.13-CV-03392-M EJ,
  2015 W L 3397385,at*7 (N.D.Cal.M ay26,2015)(çfDefendantnotesthatitreviewed ...other
  loss mitigation options,including ...the option of a paym entassistance .. . , the option of a

  shortsale...,andmodifcationunderHAM P'')(notingthesnme).ConstruingtheComplaintin
 the lightm ost favorable to Plaintiff,Plaintiffs past loan modifk ation m ay nothave been the

  resultofa complete loss mitigation application. Defendanthas,therefore,notestablished that

 the current loss m itigation application is a duplicative request. Accordingly,the M otion to

 Dismissisdenied.

        IV.      M otion forSum m ary Judgm ent

        In itsM otion forSum m ary Judgm ent,Defendantcontendsitisentitled to finalsllmm ary

 judgmentin itsfavor,arguing review ofPlaintiffsclaimsisbarred undertheRooker-Feldman
 doctrine and thatPlaintiffhasnotestablished there isa genuine dispute ofm aterialfactasto any

 ofhisclaim s.

                 a. R ooker-Feldm an

        DefendantarguesthatPlaintiffs claimsare ç'inextricably intertwined with histsnalstate-

 courtforeclosurejudgment''and therefore,undertheRooker-Feldman doctrine,the Courtlacks
 jurisdiction to review them. (DE 52 at10). Plaintiffrespondsthathetsisappealing the state
 court'sjudgmentin an entirely separatematter. (Plaintiftl isnotclaimingthatthe (Foreclosure
 Court)was in errorin entering judgment,butratherthatDefendantwas in error,in part,in


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  movingforsuchjudgment.''(DE 56at10).Inreply,DefendantcontendsthatPlaintiffisinfact
  challenging thestatecourt'sforeclosurejudgment. (DE 58 at9). Defendantdoesnotdispute
  thatPlaintiffiscurrentlyappealingtheforeclosurejudgmentinstatecourt.See(/:).5
         The Rooker-Feldman dodrine applies where the Supreme Court's Sjurisdiction over
  state-courtjudgments...precludesaUnited Statesdistrictcourtfrom exercising subject-matter
  jurisdiction in an actiong.l''ExxonMobilCorp.v.SaudiBasicIndus.Corp.,544U.S.280,291
  (2005). The doctrine barsdistrictcourtsfrom exercising subject-matterjurisdiction in ttcases
  broughtby state-courtloserscomplaining ofinjuritscaused by state-courtjudgmentsrendered
  beforethedistrid courtproceedingscommenced and inviting districtcourtreview and rejection
  ofthosejudgments.''Id at284.
         Rooker-Feldman only applies to federalactions filed çiaher the state proceedings have

  ended.'' Nicholson v.Shafe,558 F.3d 1266,1275 (11th Cir.2009). Stlsltateproceedingshave
  not ended for purposes ofRooker-Feldman yvhen an appealfrom the state courtjudgment
  remainspendingatthetimetheplaintiffcommencesthefederalcourtactionl.l''1d.at1279.
         Here, Plaintiff is currently pursuing an appeal in state court from the foreclosure

 judgment.SeeTimothy Willsonv.BankofAmerica,4D15-552 (Fla.4th DCA 2015).6 Because
  an appealofthestatecourtjudgmentremainspending,thestateproceedingshavenotendedand
  Rooker-Feldmandoesnotapply.ThisCourt,therefore,hasjmisdictionoverthisaction.7




  5 Defendantdoes, how ever,contend thatthere tçare no proceduralbars to the application ofthe
  Rooker-Feldm an doctrine to this case as it was filed subsequent to Plaintiff s state court
 judgment.''(DE 52at11).
 6Imay takejudicialnotice ofstate courtproceedings. Coney v.Smith,738 F.2d 1199,1200
 (11thCir.1984).
  1D efendantdid notraise any otherabstention doctrines.
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                b. C ountl

         Count1allegesaviolationtmderj 1024.41(b)(2)againstDefendantforfailingtoprovide
  written notitk ation ofreceiptofa lossm itigation application. Section 1024.41(b)(2)imposesa

  duty on servicersofa mortgage loan. W hen the servicer receives a lossm itigation application

  45 daysorm ore before aforeclosuresale,itm ust:

         Notify the borrowerin writing within 5 days ...afterreceiving the lossmitigation
         application thattheserviceracknowledgesreceiptofthe lossmitigation application
         and thatthe servicer has determ ined thatthe loss mitigation application is either
         completeorincom plete.

  12 C.F.R.j 1024.41(b)(2)(i)(B).DefendantseeksfinaljudgmentastoCount1,arguingthat(1)
  no foreclosuresalewasscheduled when Plaintiffsubmitted thelossmitigation application,(2)
  theNovember4,Emailwascorrupted and did notconstitute a lossmitigation application,(3)
  Plaintifpsinitiallossmitigation application wasincomplete,and (3)Defendantcompliedwith j
  1024.41(b)(2)byrespondingtothelossmitigationapplication.'
                        i. N o Foreclosure Sale W asScheduled

         First,Defendantargues that j 1024.41(b)(2) only applies once a foreclosm e sale is
  scheduled. Defendant,however,providesnoauthority forthatargument.A plain reading ofj
  1024.41(b)(2)requires a m itten response to a borrowerwithin five days ofreceiptofa loss
  m itigation application if the servicer receives such application 45 days or m ore before a

  foreclosure sale. See Lage v. Ocwen Loan Servicing LLC, No. 14-CV-81522, 2015 W L

  7294854,at*7 (S.D.Fla.Nov.19,2015). Accordingly,IrejectDefendant'sargumentthatit
  neverviolated j1041(b)(1)becausetheforeclostlresalehadyettobescheduled.


  8A lso as to Count1, D efendant arguesthere is no genuine dispute ofm aterialfactthatPlaintiff
  has failed to establish damages. As these arguments are generally identical to argum ents
  Defendant raises against a11 claim s, l reserve discussion of those argum ents for the dam ages
  sectionasappliedtoa11claims.Seeinh.a SectionIV(9.
                                                10
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                       ii. The N ovem ber 4 Em ailw as C orrupted

         Second,Defendantcontendsthereisno genuint dispute thatthe Novem ber4 Emailwas

  corrupted,and therefore,Deftndantdid notrtctive the loss m itigation application untilitw as

  senton December 1,2014. (DE 52 at 12). Defendantfurther contendsthatitresponded to
  Plaintiff within 5 days,on December 2,2014,acknowledging receipt of the loss mitigation

  application andthatitwasincomplete.(DSOF!(23).
         Defendant argues the evidence shows the November 4 Em ail to its outside counsel

  contained a con-upted attachm entthatcaused itto be sentto outside counsel'sspnm folder,and

  thus, the date of Defendant received Plaintiffs loss m itigation application is the date of

  Plaintiffssecondemail(December1,2014). (DE 52at12).In support,Defendantcitestothe
  affidavitofoutside counselwho wassenttheNovem ber4 Em ail,Karen Green. M s.Green avers

  her1aw firm responded to the November4 Emailon Decem ber 1,2014,explaining to Plaintiffs

  counselthattheNovember4 Emailwascomzpted andneededtoberesent.(DE 52at12)(citing
  DE 52-7at3,! 10;DE 15!33;DE 15-2at9).Attachedtoheraffidavitisacopyofthatemail.
  (DE 57-2 at20). Defendantargues thatitcomplied with the response requirementswhen it
  received the application on December 1,2014 and thatDefendant,therefore,did notviolate j
  1024.41(b)(2).(f#.at13).
         ln response,Plaintiff contends that ççDefendant has not actually proffered any actual

  evidence(tolestablish thatthee-mailwasactually conupted andwentto SPAM mail.''(DE 56
  at10;PSOF !20). Plaintiffalso submitsan aftidavitfrom Leo Desmond,Plaintiff'scounselat
  that tim e. Attached to M r. D esm ond's affidavit is a copy of the em ail tllread betw een M r.

  D esm ond and Defendant's outside counsel, K aren Green. The em ail thread show s m ultiple

  em ails betw een counsel from October 28, 2014 to N ovem ber 20, 2014, and contains the


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  November 4 Em ail,which reads: ttAttached are the docum ents requested of my clientfor a

  potential modifkation. Please 1et me know if your client needs anything else prior to

  mediation.''(DE 56-1at6).9 OnNovember20,2014,M r.DesmondasksM s.Greenintheemail
  thread to çiconfirm thatyour clientis in possession ofa complete mitigation package from my

  client.'' (f#.at3). Thus,even assllming the originalNovember4 Emailwentto M s.Green's
  spam folder,M s.Green wasasked to confirm on November20whethertheStmitigation package''

  was received. Thatinquiry likely should have prompted M s.Green to investigate whethershe

  hadreceived theNovember4 Em ailin herprim ary emailinbox orwhetherithad bedivertedto a

  spmn folder.

         In any event,D efendanthas failed to cite any case law indicating thata loss mitigation

  application isnotreceived ifitisdiverted to a spnm em ailfolder. Thus,Plaintiffhasidentified a

  factualdisputeastowhen the lossm itigation application wasreceived.

                      iii. Plaintifp sinitialIoss m itigation application w as incom plete

         DefendantnextcontendsthatPlaintiffs lossm itigation application was incom plete and

  appearstoarguethatDefendantwasthereforenotinviolationofj 1024.41(b)(2).(DE 52at12).
  PlaintiffrespondsthatDefendantisobligatedtorespondtoalossmitigationapplicationunderj
  1024.41(b)(2),regardlessofwhetherornotitiscomplete. (DE 56 at12). Plaintiffnotesthat
  ddltlhewholepointofthewritten notification required pursuantto thissection isfortheservicer
  to inform a borrowerasto whethertheirapplication is complete,and,ifincomplete,çthe notice



  9M ï.DesmondsentacopyoftheNovember4 EmailtoSçsent@ verobeachlegal.com.''AfterM r.
  D esm ond sentthe N ovem ber4 Em ail,itappears there w asno response from M s.Green. lnstead,
  it appears M r. Desm ond continued the em ail thread by replying al1 from the
  sent@ verobeachlegal.com emailaccounton November17. M s.Green then responded only to
  thesent@verobeachlegal.com thatsame date. Apparently afterrealizing shehad respondedto
  theç%sent''em ailaccotmt,M s.Green then forwarded herresponse to M r.Desm ond on Novem ber
  20.See(DE 56-1).
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  shallstatethe additionaldocum ents and information theborrowermustsubm itto makethe loss

  mitigation applicationcomplete.'''(f#.)(quoting j 1024.41(b)(2)).Theprovision mandatesthat
  servicers,in theiracknowledgem entofreceiptofa lostmitigation application,indicate whether

  or not the application is compete. Even assum ing Plaintiffs application was incomplete,

  Defendant was stillrequired to provide notice to Plaintiff within five days of receiving the

  application.

                      iv. Defendant complied with j 1024.41(b)(2) by responding to
                          the Ioss m itigation application

        Defendant contends that tçthe extensive docllm entary evidence demonstrates that the

  Bmlkproperlyhandledthelossmitigationapplication inaccordancewith j1024.41(b)(2).'' (DE
  52at13).Thisis,however,basedon Defendant'sposition thattheapplicationwasnotreceived
  untilDecember 1,2014. Asthereceiptdateisdisputed,sllmmaryjudgmentcnnnotbegranted
  on thisbasis. Fora11ofthese reasons,Defendant'sM otion forSumm ary Judgm entis denied as

  to Count1.

                 c. C ount11

        Count 11 alleges violations of j 1024.41(g). The provision states thata servicer is
  prohibited from moving for foreclosure judgment if $1a borrower submits a complete loss
  mitigation application . .more than 37 days before a foreclosure sale.'' 12 C.F.R. j
  1024.41(g).10 Defendantarguesthatdtlqhereisnoevidencethataforeclosuresalewasscheduled
  on December 1,2014,when (Defendant)received (Plaintifq'sapplication,orthat(Defendant)
  receivedacompleteapplicationonDecember1,2014.55(DE 52at15).




  10In its M otion for Summ ary Judgm ent, Defendantdid notargue any ofthe tllree exceptions to
  thisgeneralprohibitionapplied.See 12C.F.R.j 1024.41(g)(1)-(3).
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         In response,Plaintiffcontendsthat,sincethe application wassenton November4,2014,

  and Defendant failed to respond to the application, the November 4 Em ail was considered

  facially complete,thereby invokingj 1024.41(g).(DE 56at15).
         An application is considered Sffacially com plete'' if Eçno additional inform ation is

  requested''in the borrower's notice. j 1024.41(b)(2)(i)(B). Facially complete applications
  prohibitservicersfrom movingforforeclosurejudgments.See12C.F.R.j1024.41(c)(2)(iv)(t(If
  the servicer later discovers additional inform ation or corrections to a previously subm itted

  document are required to complete the application, the servicer must prom ptly request the

  m issing inform ation or corrected documents and treat the application as com plete for the

  purposes ofparagraphs(9(2)and (g)ofthis section untilthe borroweris given areasonable
  opportunitytocompletetheapplication.').
         According to Plaintiff, because Defendant never notifed Plaintiff of receipt of the

  application orindicatedthatitwasincomplete,seesupra Section IV(b),theNovember4 Email
  constituted a facially complete application on November 12,2014 (5 days afterreceiptofthe
  November4Emailexcludingweekendsandpublicholidays)andDefendantwasprohibitedfrom
  moving forforeclosurejudgmentasofthattimedatej 1024.41(g).However,thereisagenuine
  dispute asto when PlaintiffsentDefendanta lossm itigation application and,thus,whetherthe

  application was deem ed facially complete on November 12,2014. Thus,there is a genuine

  dispute ofmaterialfactasto whetherDefendantimproperly moved forforeclosurejudgment
  underj 1024.41(g).Accordingly,theMotionforSummaryJudgment,astoCountII,isdenied.




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                d. C ountlII

         Count IlI alleges Defendant failed to comply with j 1024.41(h) when it handled
  Plaintiff'sAppealofDenial. Section 1024.
                                         41(h)requiresstrvicerstoconductan ttindependent
  evaluation,'' of denials of loss mitigation applications, ttby different persormel than those

  responsible forevaluating the borrower'scomplete lossm itigation application.''j 1024.41(h).

         Defendant contends that Sdltlhere is no evidence that the Bank failed to perform an
  independentreview ofPlaintiffs)application.Tothecontrary,itisevidentthat(Defendant)did
  perform an investigation becausetherejection letter,electronically signed by StewartFlick ...
  containsspecitk information relevantto gplaintiffs)loan ....''(DE 52 at 16). In response,
  Plaintiffcontends thatthe çfburden to establish thatno genuine issue ofm aterialfactexists in

  regardstoamotion forsummaryjudgmentlaysuponthemovingparty''and thattslaltnopointin
  time does Defendant's argllment(1 allege thatPlaintiffs application was .        reviewed by
  differentpersonnelthan thoseresponsibleforevaluating the borrower'scom pletelossm itigation

  application aswouldberequiredby 12C.F.R.j1024.41(h).''(DE 56at16)(intem alquotations
  omitted).
         Plaintiffmisconstruesthe burden on a motion forsummaryjudgment. Defendanthas
  identisedtheabsence ofevidence to supportPlaintiffsclaim underCount111. Plaintiff,in turn,

  hasnotcited any evidence indicating Defendantfailed to conductan independentreview ofthe

  denial by different persormel than those responsible for evaluating the loss m itigation

  application. Thus,asto Count111,the M otion forSum maryJudgm entisgranted.

                e. CountsIV ,V,and VI

        CountsIV,V,andVIallegeviolationsunderj 1024.35(e),forfailingtoproperlyrespond
  totheFirstand SecondNotice. Defendantarguesj 1024.35doesnotprovideaprivaterightof


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  action. (DE 52 at17)(citing M illerv.HSBC Bank US.A.,N A.,No.13 CIV.7500,2015 W L
  585589 (S.D.N.Y.Feb.11,2015:. In Response,Plaintiffarguesthe case to which Defendant
  cites,sfiller,isçdincorrect-''(DE 56 at16). Plaintiffcontendsthatj 1024.35waspromulgated
  tmderRESPA,andthatRESPA providesaprivaterightofactionunder12U.S.C.j2605(9.(Id
  at17).
         W hile j 2605 generally provides a private right ofaction for RESPA violations,12
  C.F.R.j 1024.35 doesnot. Other sections promulgated under RESPA,such as j 1024.41,
  explicitlyprovideaprivatecauseofactionbyrefeningtoremediesunderj2605(9. 12C.F.R.j
  1024.41(a)(tW borrowermay enforce theprovisionsofthissection pursuantto section 6(9 of
  RESPA (12 U.S.C.260549'').However,Section 1024.35makesnosuchreferenceandtherefore
  doesnotprovideaprivaterightofaction.See,e.g.,Gresham v.WellsFargo Bank,N A.,No.15-

  40748,2016 W L 1127717,at*3 (5th Cir.M ar.21,2016)Cçunlike Section 1024.41,Section
  1024.39 doesnotexplicitly convey a private rightofaction to borrowers.'')(applying similar
  reasoning to j 1024.39 to ûnd itdid notprovide a private right of action). Accordingly,
  summm.
       yjudgmentisgrantedinfavorofDefendantastoCountslV,V,andV1.
                f. D am ages

         Section 1024.41 providesforaprivate rightofaction underj 2605(9 ofRESPA. 12
  C.F.R.j 1024.41 C%A borrowermay enforce the provisionsofthissection pursuantto section
  6(t)ofRESPA (12 U.S.C.260549''). Section 2605(9 providesthataborrowermay recoverfor
  $ç(A) any actualdamages to the borrower as a resultof the failure;and (B)any additional
  dam ages,asthe courtm ay allow ,in the case of a pattern or practice ofnoncom pliance w ith the

  requirements of this section,in alzamountnotto exceed $2s000.'' 12 U.S.C.j 26054941).
  DefendantmovesforsummaryjudgmentagainstPlaintiffon a11claims forfailing to establish


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  dnmages:(1)actualdnmages,includingthoseforemotionaldistress,(3)statutory damages,and
  (3)punitivedamages.(DE 52at13,18-21).
                               1. A ctualdam ages

         Defendantfirstargues thatPlaintiff tçtestified thathis dnm ages included attorney's fees,

  filing fees, court reporters, cost of the appeal, cost of the bankmlptcy,em otional damages,

  physical impairment to his non-party wife via increased anxiety, stress to their non-party

  daughter,emotional distress, and dam age to his real estate business''but that Plaintiff has

  ftprovidednoevidenceto substantiatethereferenceddamages.'' (DE 52 at13).
         PlaintiffrespondsthatççuntilDefendant,asthe moving party,hasestablished thatthere is

  no genuine issue ofmaterialfactasto whether (Plaintifq suffered dnmages pursuantto the
  alleged violations of Regulation X, gplaintiffj is not required to produce evidence to the
  contrary.''(1d ).Plaintiffagainmisconstruestheburdenonamotion forsummaryjudgment.As
  Defendantdoes notbear the burden ofproofof this issue attrial,itmay sim ply pointto the

  absence of evidence to support the nonmoving party's case. Celotex, 477 U .S. at 325.

  Defendanthasidentifed theabsence ofevidenceand,assuch,the burden hasshihed to Plaintiff

  to establishthatthere isagenuineissueofm aterialfact.SeeM atsushita,475 U.S.at585.

        In his deposition,Plaintifftestified that,due to Defendant's im properly m oving forthe

  foreclosurejudgment,Plaintiffwasforced to fileforbanknlptcy. (DE 52-1,çfW illson Depo,''at
  70:1-11). Plaintifftestified thatthere were attorneys'fees associated with the Trialand the
  subsequent bankruptcy, as well as other Gsnonspecific'' damages, including lack of sleep,

  emotionalstress,divorce,headaches,andanxiety.(DE 52-1at13).Seealso(DE 56at18).
        Litigation Costs. Defendant contends that, as to the costs associated with the

  bankruptcy, Plaintiff has not produced evidence of the çsattorney's fees, filing fees, court


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  rcporters,costoftheappeal,(and)costofthebanknzptcy,''forwhich Plaintiffseeksrelief. (DE
  52 at13,19);seealso (DE 56 at13). However,Plaintifftestitiedthatthose damagesexist(DE
  56at13)(citingW illson Depoat69:21-70:11,186:21).Plaintiffalso citestoPlaintiffsExhibit
  2-G,checksPlaintiffm adeoutto Plaintiffsattorney purportedly forattorney'sfees. (1d.)(citing

  DE 56-2 at25-38). Further,DefendantdoesnotdisputethatPlaintiffretainedcotmselandfled
  fortheappealand bnnkruptcy.Thus,thereexistsagenuinedispute ofmaterialfactasto whether

  P1aintiffhassuffered such dam ages.l1

         W hile Plaintiffhas established a genuine dispute of materialfact as to the existence of

  monetary dam ages,itis unclearwhetherPlaintiffprovided a com putation to Defendanttllrough

  initial disclosures under Federal Rule of Civil Procedure 26, or provided Exhibit 2-G to

  Defendantthrough the course ofdiscovery. Rule 26 requires aparty to provide&$a com putation

  ofeach category ofdnmagesclaimed''and m aterialon which the computation isbased. Fed.R.

  Civ.P.26(a)(1)(A)(iii).Failtlretodisclosesuchcomputationmay resultinprecludingsuch issue
  from reaching ajttry. See Cïl.pofRome v.Hotels.com,L.P.,549 F.App'x 896,899 (11th Cir.
  2013)(affirming districtcourt'sexclusion ofevidenceofdnmage becausetheplaintifffailed to
  disclose the computation those damages). To the extent Plaintiffhas not provided such a
  computation,Plaintiffwillbe precluded from suggesting any specific am ountofdam agesto the

  jury.However,theseissuesarenotadequatelybriefedandthusnotbeforetheCourtatthistime.
         Dam agesforEm otionalDistress. M oving to Plaintiffsalleged damages for emotional

  distress,including isem otionaldnm ages,physicalimpairmentto hisnon-party wife via increased

  anxiety, stress to their non-party daughter, em otional distress, and dam age to his real estate



  11Defendantalso m akes an argum entthatPlaintiff cnnnotrecover for the cost of filing the loss
  mitigation application as wellas the two Notices and Appealof Denial. (DE 52 at 18).
  H ow ever,Plaintiffdoes notappearto be seeking these dam ages.
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  business,''DefendantarguesPlaintiffcnnnotestablish such dam ages. 1agree. Plaintiffhasnot

  presentedany evidencebeyondconclusory assertionsoftheseda ages. (DE 52 at13);seealso
  (DE 56at13). Plaintiffhaslikewisenotcited toany record evidencesupportingthesedamages,
  excepthis deposition testimony generally discussing the stress he and his family experienced

  throughoutthe foreclosure process.

         W hile Ctaplaintiff stestim ony alone could supportan award ofcompensatory damagesfor

  emotionaldistressl)....the testimony mustestablish thatthe plaintiffsuffered demonstrable
  em otionaldistress,which mustbe suftk iently articulated;neitherconclusory statem entsthatthe

  plaintiffsuffered emotionaldistressnorthe merefactthata violation occurred supportsan award

  forcompensatory damages.'' McLean v.GM AC Mortgage Corp.,398F.App'x 467,471(11th
  Cir.2010)(affirmingdistrictcourt'sgrantofsummaryjudgmentin favorofthedefendantwhere
  the plaintiffs'conclusory statem ents thatthey suffered em otionaldam age were insufficient to

  establishactualdamages)(citingAkouriv.Fla.Dep 'tofTransp.,408F.3d 1338,1345 (11thCir.
  2005))(intemalquotationsomitted).
         Further, Defendant argues that Plaintiff has not established that Defendant's alleged

  RESPA violations caused the emotionaldistress,asopposed to Plaintiffs own failure to make

  hismortgagepayments.(DE 52at13).A plaintiffmust'tpresentspecificevidencetoestablisha
  causallink between the financing institution'sviolation and (hislinjttries.'' McLean,398 F.
  App'x 467 at471;see also Lage,No.14-CV-81522,2015 W L 7294854. Plaintiffdid notciteto

  any evidence in the record establishing a link between any RESPA violation ofhisemotional

  injuries. For these reasons, Defendant's Motion for Summary Judgment is granted as to
  Plaintiff'sdnmagesforemotionaldistress.lz


  12A lthough notpresently before the Court, Plaintiff stheory ofcausation ofactualdam agesalso
  appearsproblem atic. Plaintiffstheory appearsto be that,had Defendantproperly responded to
                                               19
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                             2. Statutory D am ages

        Defendantalso contendsthere isno evidence ofççpattern orpractice ofnoncom pliance''

  sufficientto warrantstatutory damages. (DE 52 at 14,21), In response,Plaintiffcontends
  DefendantcommittedsixviolationsofRegulationX indealingwithPlaintiff.(DE 56at14).
        RESPA provides for statutory damages dtin the case of a pattern or practice of

  noncompliance.'' 12U.S.C.A.j2605(9(1)(B).Theprovisiondoesnotdefinewhatconstitutesa
  pattern orpractice. However,the Eleventh Circuithasheld thattwo violationsdo notconstitute

  apatternorpractice.M cLean,398F.App'xat471(affirmingdistrictcourt'ssummaryjudgment
  findingnostatutorydamagesbasedontwoviolations).
        Here,Plaintiffalleges,atm ost,five violationsofRESPA within a few months,a11related

  to oneborrower,and a11related to thehandling ofonem ortgage.Such violationsare insufticient

  to establish a pattern orpractice ofnoncompliance. See Toone v.Wells Fargo Bank,N A.,716

  F.3d 516,523(10th Cir.2013)(finding lack ofpattem orpracticebased on complaint'stûfaillzre
  to allegeany violationswith respectto otherborrowers'). Asto statutory damages,summary
  judgmentisgrantedin favorofDefendant.
                                 Punitive D am ages



  thelossmitigation application,Defendantwould nothave soughttheforeclosurejudgmentand
  Plaintiffwouldnothavefiled forbankruptcytopreventtheforeclosuresale.See(W illsonDepo
  at 189:22-190:15). However, Plaintiff does not appear to dispute that Defendant denied
  Plaintiff s loss mitigation application on January 17, 2015. Even if Defendant properly
  responded totheN ovember4 Email,the eventualoutcomewasthe Denial. Itisunclearwhether
  theNovember4 Emailwould haveprevented- ratherthan delayed- the Trialand ultim ateentry
  oftheforeclosurejudgment,aswellasPlaintiff'sûlingforbankruptcy.See,e.g.Lage,2015W L
  7294854,at#18(granting summaryjudgmentwheretherecordwasSddevoid ofdamagesbearing
  causalrelationship to (thedefendant's)purported failureto complywith 12 C.F.R.j 1024.35'').
  In addition,the Partiesdo notdisputethatDefendantmoved to continuetheTrialbutwmsdenied
  by the ForeclosureCourt. Thispresentsanotherproblem with Plaintiffstheory ofcausation.
  However,Defendant did not specifically m ake these arguments,and they are notbefore the
  C ourtatthistim e.
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        Third,Defendant contends Plaintiff is not entitled to punitive damages for RESPA

  violations.(DE 52at21).Plaintiffdid notrespondto thisargument. Because j2605doesnot
  provide forpunitive dnmages,and hisclaims are entirely based on violations ofRESPA ,Ifind

  Plaintiffisnotentitled torecoverpunitivednm ages.

               C O N C LU SIO N

        In conclusion,Plaintiffmay proceed with Counts Iand 11butm ay notrecoverdam ages

  foremotionaldistress,statutorydnmages,orpunitivedamages. Accordingly,itishereby

        O RD ERED A N D A DJU DG ED that:

     1. TheMotiontoDismiss(DE 17)isDENIED.
        The Motion for Summary Judgment(DE 52) is hereby GRANTED IN PART AND
        D EN IED IN PA R T.

     3. Asto Count111,IV,V,andVI,summaryjudgmentisGRANTED in favorofDefendant.
     4. Asto CotmtsIandIl,summaryjudgmentisDENIED.
     5. Asto damagesforemotionaldistress,statutory dam ages,and punitive dam ages,summary

        judgmentisGRANTED infavorofDefendant.
        DONE AND ORDERED inChambersinWestPalm Beach,Floridaonthis Z day
  ofW     2016.



                                                      D     LD M .M ID D LEBROO K S
  Copiesto:CotmselofRecord                            UN ITED STATES DISTRICT JUDGE




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